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        1       page.

        2                       THE COURT:       And then the following

        3   transcript on March 15, 2018, at Page 63, Line 6,

        4   "There is such a thing as prebankruptcy planning.

        5   And efforts to hinder, delay, or defraud creditors

        6   on the eve of bankruptcy would often justify

        7   dismissal for cause.              But the asset protection

        8   plan here was formed in 2012."

        9                       MR. HURST:       Uh-huh.


       10                       THE COURT:       And then it goes, "It was

       11   just planning."           But that Court when it made its

       12   ruling at Page 64 where it says that it has no

       13   household income was unaware of the testimony that

       14   I heard here regarding the additional income that

       15   was hidden in Mrs. Zilberbrand that actually was

       16   income of Mr. Zilberbrand.               And so I had cautioned

       17   all the parties regarding that line of testimony,

       18   because I understand that there is some additional

       19   motion in the bankruptcy court.                I don't know what

       20   it is.         But the last thing that we would want here

       21   would be for debts that had been discharged to

       22   then be opened up again if the bankruptcy court

       23   realizes what was really going on.

       24                                 I do not find your client




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        1       credible about his lack of ability to make income

        2       in light of the fact that he's hiding assets from

        3       the bankruptcy court and that he's speaking out of

        4       both sides of his mouth to this Court.               He has

        5       testified on several different days several

        6       different ways about what it was that those two 60

        7       some and 90 some thousand deposits were.                  And so

        8       if I don't find him to be convincing about that,

        9       then you don't have a sufficient amount of

       10       evidence to win this motion.            So I would encourage

       11       you to address that.

       12                       MR. HURST:        Fine.   Okay.    Let's say

       13       for the sake of discussion that you consider the

       14       $63,000 in 2018 to be income to him.              It's gross

       15       income set off against expenses for trying to do

       16       that.   Just like in the 2017 return there is a

       17       schedule and there are expenses that were incurred

       18       relative to these — to the production of income.

       19                       THE COURT:        And then I find him to be

       20       lying about that.       When I say "lack of candor," I
       21       mean he is lying.       And so —

       22                       MR. HURST:        Lying about —

       23                       THE COURT:        — let me be clear.          Let

       24       me be completely clear.           And so you call into




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        1       payments —

        2                       THE COURT:         Which he hasn't made a

        3       single payment back.

        4                       MR. HURST:         Because he's had no

        5       income.    And with the exception of that one

        6       payment that was received, the $63,000 in 2018,

        7       which is the only relevant time period here,

        8       because we're not seeking modification back to

        9       2017, okay, he has borrowed that money and he has

       10       cannibalized the remaining assets that he has to

       11       pay that rent.      And there's been no evidence to

       12       contradict that.       And if you take the money that

       13       he claims to have borrowed over the past year or

       14       so, the $50,000, the money that was residual from

       15       the $63,000 and the money he has cannibalized from

       16       his remaining assets to pay his expenses, that's

       17       how it's been done.

       18                                Now the Court's critique of

       19       Mr. Zilberbrand and his lifestyle is nothing —

       20       that's the Court's opinion.             None of that was

       21       sufficient to give rise to the Court finding that

       22       he was not credible.

       23                       THE COURT:         But that Court didn't

       24       know about the income he was hiding under his




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         1      wife's name.


        2                       MR. HURST;        Okay.    All of $97,000

         3      gross income on a referral fee.

         A                      THE COURT:        Which is twice the

        5       amount — nearly twice the amount of income that

         6      he was stating in the agreed order where it was

        7       reduced to $2,750 that he was making.

        8                                    Anything further?

        9                       MR. HURST:        Excuse me.     You know,

       10       Counsel pointed to comments that the Court made in

       11       the pretrial.      The Court made a comment to me in

       12       pretrial with Counsel present that it was clear

       13       that he was cannibalizing his assets to sustain

       14       these payments and the lifestyle.             Okay.       So

       15       what's good for the goose is good for the gander.

       16       That's — and that is absolutely consistent with

       17       what the evidence has shown.            He has cannibalized

       18       those assets.      Those assets are gone and for the

       19       Court to suggest he should be held to $33,000 in

       20       net payments against $45,000 in gross income and

       21       he should find some way to live on taxable income

       22       of a thousand dollars a month is absolutely

       23       preposterous.      It's contrary to public policy.               He

       24       has a right to live, too.            That's why child




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